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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION
QUINTON M. THOMAS, et al.,                        )
                                                  )
         Plaintiffs,                              )
                                                  )
    v.                                            )          No. 4:16-CV-01302-RWS
                                                  )
ST. ANN, MISSOURI, CITY OF,                       )
                                                  )
         Defendant.                               )
                                                  )

                                 ORDER
            REFERRING CASE TO ALTERNATIVE DISPUTE RESOLUTION
      After due consideration of the issues and in consultation with the parties, the Court finds

that this cause is appropriate for referral to an alternative form of dispute resolution as provided

by the local rules of this Court.

      IT IS HEREBY ORDERED that:

      (a) Referral to ADR: This case is referred to: Mediation

      (b)   Conduct of ADR Conference(s): The ADR conference(s) shall be conducted in

accordance with the procedures outlined in E.D.Mo. L.R. 6.01 - 6.05.

      (c) Scheduling ADR Conference(s): The ADR conference(s) shall be concluded before

November 29, 2019, unless extended by order of the Court. Although ADR conferences may

be conducted at any location agreed to by the parties, counsel, and the assigned neutral, the

parties are advised that such conferences may be conducted in designated space in the United

States District Court, 111 South 10th Street, 5th Floor, St. Louis, Missouri, and United States

District Court, 555 Independence Street, Cape Girardeau, Missouri, by making arrangements

with the Office of the Clerk.
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      (d) Designation of Lead Counsel:         Blake Alexander Strode is designated as lead

counsel and shall be responsible for working with the parties and the neutral to coordinate an

agreeable date, time, and, if necessary, location for the initial ADR conference.

      (e) Responsibilities of Lead Counsel: Not later than October 3, 2019, lead counsel

shall notify the clerk of the agreed choice of neutral selected by the parties and the date, time

and location of the initial ADR Conference (see Designation of Neutral/ADR Conference

Report form, <www.moed.uscourts.gov>, ADR, forms). Upon selection of the neutral, lead

counsel shall send a copy of this order to the neutral.

      (f)   General Rules Governing ADR Conference(s): Although the ADR process is defined

in detail in the Local Rules, the following additional guidelines shall govern the process:

             (1) Memoranda: Not later than ten (10) days prior to the initial ADR conference,
            each party will provide the neutral with a memorandum presenting a summary of
            disputed facts and a narrative discussion of its position relative to both liability and
            damages. These memoranda shall be treated as Confidential Communications and
            shall not be filed in the public record of the case nor provided to any other party or
            counsel.

             (2) Disclosure of Participants and Duty to Attend: Not later than ten (10) days
            prior to the ADR Conference, each party will provide to the opposing party, and to
            the neutral, a list of all persons who will participate in the ADR Conference on behalf
            of the party making the disclosure. This list shall state the names of the individuals
            attending and their general job titles. Pursuant to Rule 16-6.02(B), all parties, counsel
            of record, and corporate representatives or claims professionals having authority to
            settle claims shall attend the mediation conference in person unless otherwise agreed
            to by the parties or approved by the court, and participate in good faith. For early
            neutral evaluation conferences, all counsel of record and their clients shall attend in
            person unless otherwise agreed to by the parties or approved by the court.

             (3) Authority of the Neutral: The neutral shall have authority to consult and
            conduct conferences and private caucuses with counsel, individual parties, corporate
            representatives and claims professionals, to suggest alternatives, analyze issues and
            positions, question perceptions, stimulate negotiations, and keep order.

             (4) Compliance with Deadlines: All deadlines must be complied with in a timely
            fashion and the appropriate forms filed with the Clerk of the District Court. If a
            deadline cannot be met, the designated lead counsel shall file a motion requesting




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          an extension of the deadline prior to the expiration of that deadline. Noncompliance
          of any deadline set herein by this Court may result in the imposition of sanctions to
          the appropriate party or parties.

      (g) Compensation of the Neutral: The neutral shall receive reasonable compensation for

services rendered pursuant to this order, which, unless otherwise agreed by counsel, shall be

borne by the parties in accordance with Rule 6.03(C)(1). Compensation is payable to the

neutral upon the conclusion of the ADR referral.


      Nothing in this order alters the Case Management Order previously entered in this

case. All deadlines set forth in that Case Management Order remain in full force and

effect.

      Dated this 12th day of September, 2019.



                                                   ___________________________________
                                                   RODNEY W. SIPPEL
                                                   UNITED STATES DISTRICT JUDGE




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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF MISSOURI
                                       EASTERN DIVISION
QUINTON M. THOMAS, et al.,                        )
                                                  )
          Plaintiff(s),                           )
                                                  )
     v.                                           )         No. 4:16-CV-01302-RWS
                                                  )
ST. ANN, MISSOURI, CITY OF,                       )
                                                  )
          Defendant(s).                           )
                                                  )

                       DESIGNATION OF NEUTRAL BY PARTIES
                                              AND
                               ADR CONFERENCE REPORT
      Pursuant to the Court's Order Referring Case to ADR for Mediation, dated September 12,

2019, the parties hereby designate by agreement the following individual from the Court's list of

Certified Neutrals to serve as Neutral in the above-styled action.

          Name of Neutral/Firm:      _________________________________________
          Firm Address:              _________________________________________

                                     _________________________________________

          Telephone:                 _____________ Fax: ______________
          The attorneys of record in this case are:
                Lead Counsel:        _________________________________________
                    Firm Address:    _________________________________________

                                     _________________________________________
                    Telephone:       _____________ Fax: ______________

                Other Counsel:       _________________________________________
                    Firm Address:    _________________________________________

                                     _________________________________________
                    Telephone:       _____________          Fax: ______________




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              The completion deadline for this ADR referral is November 29, 2019.
      The parties, in consultation with the assigned neutral, hereby designate by agreement the

following date, time, and location of the initial ADR conference

    Date of Conference: ____________________, 20____

    Time of Conference: ____________________ a.m./p.m.

    Location of Conference (Check One):

     □ Designated Space at: Eastern District of Missouri
                            Thomas F. Eagleton Courthouse
                            111 South 10th Street
                            St. Louis, MO 63102
     □ Other Location:           __________________________________________________

                                 __________________________________________________
      All parties and the assigned neutral have been given at least fourteen (14) days notice of

the above-dated conference. The neutral shall schedule any additional conference(s) in

consultation with the parties.

      We, the undersigned parties to this action, declare that this designation is both consensual

and mutual

  _________________                              ___________________________________
  Date
                                                 ___________________________________
                                                 Signature of Plaintiff(s)

                                                 ___________________________________

                                                 ___________________________________
                                                 Signature of Defendant(s)




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